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8

9                          UNITED STATES DISTRICT COURT
10
                         SOUTHERN DISTRICT OF CALIFORNIA

11    JORDAN BEAL,                     ) Case No.
      individually and on behalf of all
12                                     ) 3:21-cv-00030-JLS-DEB
      others similarly situated,
13
                                       )
      Plaintiff,                       )
14
      vs.
                                       ) NOTICE OF SETTLEMENT
15                                     )
16    VICKEY LI d/b/a ONEPIECE WORK, )
      And DOES 1 through 10 inclusive,
17                                     )
      Defendants.                      )
18
                                       )
19

20
            NOW COME THE PLAINTIFF by and through his attorneys to respectfully notify

21   this Honorable Court that this case has settled. Plaintiff requests that this Honorable Court

22   vacate all pending hearing dates and allow forty five (45) days with which to file
23   dispositive documentation. A Stipulation of Dismissal will be forthcoming. This Court
24   shall retain jurisdiction over this matter until fully resolved.
25                         Respectfully submitted this June 11, 2021
26

27                                             By: s/ Todd M. Friedman Esq.
                                                     Todd M. Friedman
28




                                           Notice of settlement - 1
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1
     Notification sent electronically via the Court’s ECF system to:
2
     Filed electronically on this 11th Day of June, 2021, with:
3

4
     United States District Court CM/ECF system
5

6
     Notification sent electronically via the Court’s ECF system to:

7

8
     Honorable Judge of the

9    United States District Court
     SOUTHERN DISTRICT of California
10

11   And all counsel registered on ECF.
12
                                                         This 11th Day of June, 2021.
13

14                                                                s/ Todd M. Friedman Esq.
15                                                                 Todd M. Friedman
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                                       Notice of settlement - 2
